33 F.3d 51
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Theodore CARTWRIGHT, Plaintiff Appellant,v.Edward MURRAY;  David Smith;  Ray Kessler;  Lou Dixon,Defendants Appellees.
    No. 94-6656.
    United States Court of Appeals,Fourth Circuit.
    Submitted July 19, 1994.Decided Aug. 17, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, Chief District Judge.  (CA-93-565-AM)
      E.D.Va.
      AFFIRMED.
      James Theodore Cartwright, appellant pro se.
      Mary Christine Maggard, Office of the Attorney General of Virginia, Richmond, VA;  Leigh Thompson Hanes, Wooten &amp; Hart, P.C., Roanoke, VA, for appellees.
      Before HALL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Cartwright v. Murray, No. CA-93-565-AM (E.D. Va.  May 12, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    